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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

 UNITED STATES OF AMERICA,                           §
                                                     §
                                      Plaintiff,     §
                                                     §    Criminal No. 2:19-CR-056-D-BR
 VS.                                                 §
                                                     §
 RODNEY DEMON HARRIS (1),                            §
                                                     §
                                   Defendant.        §

                  ORDER ADOPTING REPORT AND RECOMMENDATION
                        CONCERNING PLEA OF GUILTY

       On June 14, 2019, a Report and Recommendation Concerning Plea of Guilty was issued in
the above referenced cause. The response period has expired and no objections have been filed.

       The Court has made an independent examination of the records in this case and has
examined the Magistrate Judge's Report and Recommendation Concerning Plea of Guilty. The
Court is of the opinion that the Report and Recommendation Concerning Plea of Guilty of the
United States Magistrate Judge should be ADOPTED by the United States District Court.

        The Court therefore does adopt the Report and Recommendation Concerning Plea of Guilty
as to defendant RODNEY DEMON HARRIS (1).

       ACCORDINGLY, IT IS THEREFORE ORDERED that the guilty plea of defendant
RODNEY DEMON HARRIS (1) as to Count(s) 1 of the indictment is found to have been
knowingly and voluntarily entered and both the guilty plea and the plea agreement are accepted.
A Scheduling Order for Sentencing was previously entered, and this case is continued for
sentencing pending receipt of the presentence report.

       ENTERED this July 12, 2019.


                                            _________________________________
                                            SIDNEY A. FITZWATER
                                            SENIOR JUDGE
